              Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 1 of 6




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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10
        UNITED STATES OF AMERICA,                            CASE NO. CR17-5188RJB
11
                                   Plaintiff,                ORDER GRANTING MOTION TO
12              v.                                           RECONSIDER DEFENDANT’S
                                                             MOTION FOR COMPASSIONATE
13      GERALD CLAUDE CARLSON,                               RELEASE AND GRANTING
                                                             COMPASSIONATE RELEASE
14                                 Defendant.

15
            THIS MATTER comes before the Court on the above-referenced motion (Dkt. 118). The
16
     Court is familiar with the file herein and all documents filed in support of and in opposition to
17
     this motion.
18
                                           RECONSIDERATION
19
            The first matter the Court should consider is whether the Court should allow
20
     reconsideration. Western District of Washington Local Criminal Rule 12(b)(13)(A) provides:
21
                     (A) Standards. Motions for reconsideration are disfavored. The court will
22          ordinarily deny such motions in the absence of a showing of manifest error in the prior
            ruling or a showing of new facts or legal authority which could not have been brought to
23          its attention earlier with reasonable diligence.
24

     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 1
              Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 2 of 6




 1          Defendant urges three arguments in support of reconsideration: First, that current case

 2   law clarified that the Court has broad discretion in determining what may be “extraordinary and

 3   compelling” under 18 U.S.C. § 3582 (c)(1)(A), contrary to the limitations found in the Order

 4   which denied Defendant the relief he seeks (Dkt. 116).

 5          Second, the whole pandemic issue, and issues surrounding Defendant’s health, have

 6   changed and worsened since said Order (Dkt. 116).

 7          Third, new factual information, not available earlier, has been submitted (see Dkt. 118 &

 8   Exhibits).

 9          The Plaintiff objects to reconsideration (see Dkt. 126, Government’s Response to

10   Defendant’s Motion to Reconsider Motion for Compassionate Release). The Court, however,

11   finds that the three bases for reconsideration referred to above provide new facts and legal

12   authority which could not have been brought to the Court’s attention earlier with reasonable

13   diligence. The Court should reconsider the Motion for Compassionate Release (Dkt. 99).

14                        EXTRAORDINARY AND COMPELLING REASONS

15          For reasons unknown to the undersigned, the judge denying Defendant’s motion on July

16   10, 2020 (Dkt. 116) either overlooked the June 29, 2020, Supplemental Filing by the United

17   States Regarding its Legal Position (Dkt. 112) or felt it not relevant or worthy of comment.

18   Nevertheless, this judge believes that the Court should give credit to Plaintiff’s position, and

19   agrees that Defendant’s physical and medical conditions are sufficient to justify a finding, that

20   the Court does now find, that those conditions amount to extraordinary and compelling reasons

21   to reduce Defendant’s sentence under 18 U.S.C. § 3582(c)(1)(a).

22          Added to the basis for that finding is the late additional information that Defendant has,

23   in fact, contracted the COVID-09 virus. His current condition regarding that illness is unknown

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     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 2
              Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 3 of 6




 1   to the Court. What is clear is that the Department of Corrections’ efforts were not sufficient to

 2   protect Defendant from the virus.

 3                                  THE 18 U.S.C. 3553(a) FACTORS.

 4          Even if Defendant qualifies for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i),

 5   the Court must consider the sentencing factors set forth in 18 U.S.C. §3553(a) in determining

 6   what reduction, if any, is appropriate.

 7          Defendant was convicted at trial of Possession of Methamphetamine with Intent to

 8   Distribute and Possession of a Firearm in Furtherance of a Drug Trafficking Crime. Both

 9   offenses carried mandatory-minimum sentences – ten years on the drug charge and five years,

10   consecutive, on the firearms charge – for a total of fifteen years. The sentencing judge followed

11   the law and sentenced Defendant to fifteen years. In light of the mandatory minimum, the judge

12   did not discuss the 18 U.S.C. 3553(a) factors (see Dkt. 85, Transcript of Proceedings & Dkt. 77,

13   Judgment).

14          The undersigned has considered the Presentence Investigation Report (Dkt, 72),

15   Sentencing Recommendation (Dkt. 71) and Counsel’s Sentencing Memoranda (Dkts. 73 & 75)

16   and has reviewed the entire file.

17                                             SECTION 3553(a)(1)

18          It is apparent the Defendant was convicted of serious crimes, as is reflected in the

19   mandatory minimum sentences. The history and characteristics of the Defendant show a good,

20   hardworking, skilled and successful blue-collar worker, with admittedly a few issues in his

21   background, but with a United States Sentencing Guidelines history category of I. The

22   Defendant suffered, however, from congestive heart failure which caused him to lose his job as a

23   lineman. At that point he went off track – he commenced using drugs and got involved in the

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     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 3
                 Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 4 of 6




 1   activities that let to his arrest and convictions. Those activities were abberant and unexpected,

 2   and out of line with the way he lived his life before his health declined and he lost his job. It also

 3   appears that, after his arrest and conviction, and over time, he has come back to the responsible

 4   person he was before his health failed (see Dkt. 181-1).

 5                                           SECTION 3553 (a)(2)(A)

 6              The offenses are serious, but what is just punishment? Defendant has served over thirty

 7   months in prison, all the time suffering severe health issues – heart failure, type-2 diabetes,

 8   mellitus, and obesity, as well as a degenerating hip way overdue for replacement, and now

 9   COVID-19. While he has done less time than most drug traffickers, it has been hard time, and

10   considering Defendant’s age (60) a time-served sentence and five years of supervised release

11   provides just punishment.

12                                        SECTION 3553(a)(2)(B) & (C)

13              The Defendant’s arrest, conviction and imprisonment are adequate to deter him from

14   commission of further crimes, and are also adequate to protect the public.

15                                           SECTION 3553(a)(2)(D)

16              It appears to the Court that Defendant is not in need of training or correctional treatment

17   other than what may be provided by supervised release and its conditions. It also appears to the

18   Court that Defendant will be better able to manage his necessary medical care outside of a prison

19   setting.

20                              OTHER SECTION 3553(a) CONSIDERATIONS

21              The Court has also considered the United States Sentencing Guidelines (see Dkt. 72,

22   Presentence Investigation (Dkt. 72) and Revised Sentencing Recommendation (Dkt. 71) and the

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     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 4
              Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 5 of 6




 1   question of sentencing disparities that may occur, but are balanced against the extraordinary and

 2   compelling facts of this case.

 3                                            CONCLUSION

 4          For the foregoing reasons, the Court now ORDERS:

 5                  (1)     Defendant’s Motion to Reconsider Defendant’s Motion for Compassionate

 6          Release (Dkt. 118) is GRANTED;

 7                  (2)     The Court’s Order Denying Defendant’s Motion for Compassionate

 8          Release (Dkt. 116) is WITHDRAWN;

 9                  (3)     Defendant’s Motion for Compassionate Release (Dkt. 99) is GRANTED;

10                  (4)     Defendant’s sentence is hereby reduced to time served, provided that

11          because Gerald Carlson has tested positive for COVID-19, for the protection of Mr.

12          Carlson’s health and that of the public, THE COURT ORDERS:

13                  A.      The defendant shall remain in the custody of BOP for fourteen days from

14                  the date of this order to ensure that he has recovered from the virus, is well

15                  enough to travel and is no longer capable of spreading the virus to others.

16                  B.      If by the tenth day of that period, the medical staff at FMC Rochester

17                  determine either that traveling at the end of this fourteen-day period will endanger

18                  Mr. Carlson’s health, or that based on testing, he might still be capable of spread

19                  the virus if released from quarantine, the parties are to provide an immediate

20                  status report to the Court with a proposal for addressing the situation.

21          (5)     Defendant shall also serve five years of supervised release on the mandatory,

22          standard, and special conditions set forth in his original sentence (Dkt. 77) and

23          (6)     Defendant shall also pay the $200.00 required special assessment.

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     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 5
              Case 3:17-cr-05188-RJB Document 135 Filed 11/09/20 Page 6 of 6




 1          IT IS SO ORDERED.

 2          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 3   to any party appearing pro se at said party’s last known address.

 4          Dated this 9th day of November, 2020.

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                                           A
                                           ROBERT J. BRYAN
                                           United States District Judge
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     ORDER GRANTING MOTION TO RECONSIDER DEFENDANT’S MOTION FOR COMPASSIONATE
     RELEASE AND GRANTING COMPASSIONATE RELEASE - 6
